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1    Philip D. Dracht (219044)
     pdracht@fabianvancott.com
2
     FABIAN VANCOTT
3    15 W. Carrillo
     Santa Barbara, CA 93101
4    P: 801-865-0245
     F: 801-596-2814
5

6    Jeffrey B. Setness (96773)
     jsetness@fabianvancott.com
7    FABIAN VANCOTT
     411 East Bonneville Ave. #400
8
     Las Vegas, NV 89101
9    P: 702-233-4444
     F: 877-898-1168
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11                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
12                           FOR THE COUNTY OF SACRAMENTO

13   FERNANDO RODARTE SALAS,                            Case No.: 34-2019-00266950
     individually and on half of others similarly
14   situated,
15
                    Plaintiff,                          CLASS ACTION NOTICE OF
                                                        REMOVAL
16
     vs.
17
     ALSCO, INC., a Nevada corporation; doing
18
     business in California as Steiner Corporation;
19   and DOES 1 through 100,

20                  Defendants

21
            Pursuant to 28 U.S.C. §§ 1332, 1441, 1446, and 1453, Defendant Alsco Inc. hereby
22
     provides notice to Plaintiff and the Clerk of the Superior Court of California, County of
23
     Sacramento that Alsco filed a Notice of Removal removing the above-entitled action to the
24
     United States District Court for the Central District of California. A true and correct copy of the
25
     Notice of Removal (without exhibits) is attached hereto as Exhibit A and incorporated herein by
26
     reference.
27

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                                  CLASS ACTION NOTICE OF REMOVAL - 1
           Case 2:20-cv-00064-WBS-AC Document 1-1 Filed 01/08/20 Page 2 of 2


1
            Pursuant to 28 U.S.C. § 1446, no order by the federal court is necessary to complete
2
     removal; the removal is effected automatically by Defendant Alsco filing the requisite Notice of
3
     Removal and giving notice to this Court
4
            DATED: January ___, 2020
5

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7
                                                      Philip D. Dracht
8                                                     Scott M. Petersen (pro hac vice admission
9
                                                      pending)
                                                      Fabian VanCott
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                                 CLASS ACTION NOTICE OF REMOVAL - 2
